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IN THE UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF ILLINOIS —- EASTERN DIVISION

MICHAEL ROBERTS, )
)
Plaintiff, ) No. 1:22-cv-06441
)
v. )
)
BNSF RAILWAY COMPANY ) Judge: Honorable Jeremy C. Daniels
)
Defendant. )

JOINT INITIAL STATUS REPORT

Plaintiff, MICHAEL ROBERTS, and Defendant, BNSF RAILWAY COMPANY, by and
through their attorneys, pursuant to the Court’s Order and Rule 26(f) of the Federal Rules of

Civil Procedure, hereby respectfully submit the following Joint Initial Status Report:

I. A. Attorneys of Record
PLAINTIFF DEFENDANT
James T. Farnan Jeffrey Scolaro
Ridge & Downes Carrie McAuliffe
230 W. Monroe Street Mohan Groble Scolaro, PC
Suite 2330 55 W. Monroe Street, Suite 1600
Chicago, IL 60606 Chicago, IL 60603

B. Basis for Federal Jurisdiction

Jurisdiction of this Court is invoked under the provisions of Title 28, U.S.C. §
1332 (a)(1). Plaintiff alleges that the matter in controversy exceeds, exclusive of
interest and costs, the sum of $75,000.00.

The Plaintiff has brought this action pursuant to the Federal Employers Liability
Act (*FELA”) for injuries allegedly sustained while working for defendant, which
is an interstate rail freight carrier. The Plaintiff has also brought this action
pursuant to 49 U.S.C. § 20109.

C. Nature of Plaintiff?s Claim

Plaintiff has filed a two-count complaint against Defendant. BNSF Railway
Company. Count I relates to an injury sustained on August 21, 2021; Count II
Il.

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relates to a Whistleblower Claim as a result of reporting the August 21, 2021
claim.

Count I

Plaintiff alleges in Count I of his complaint that on August 21, 2021 he was
injured while performing his duties as a switchman for BNSF Railway Company
He has alleged that BNSF was negligent in failing to provide him with a safe
place to work; failing to warn of unsafe work conditions; failed to provide the
Plaintiff with a safe means of ingress and egress from BNSF’s Joliet Yard; and
failed to warn Plaintiff of unsafe conditions of ingress and egress from BNSF’s
Joliet Yard.

Count IT
In Count II of Plaintiffs complaint, he alleges that Metra violated the plaintiff

rights under FRSA 49 U.S.C § 20109 by retaliating against the plaintiff for
reporting his work-related injury of August 21, 2021.

Describe the relief sought by the plaintiff and provide an estimate of
damages, if any.

Plaintiff is seeking damages under Count I for the personal injuries suffered on
August 21, 2021 in excess of $100,000.

Plaintiff is seeking damages, attorney fees and costs in excess of $100,000 under
Count JI.

List the names of any parties who have not yet been served.

None.

Discovery and Pending Motions

A.

Briefly describe all pending motions, including the date the motion was filed
and the briefing schedule if any.

No pending motions.
What is the current discovery schedule?
Non-expert discovery will close on January 30, 2024

Plaintiff's expert designation on or before March 28, 2024
Defendant's expert designation on or before May 28, 2024
IV.

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Briefly describe all fact and expert discovery that the parties have conducted,
including any electronic discovery. Describe any discovery that the parties
still need to complete and indicate whether the parties anticipate completing
discovery by the current deadline.

Written Discovery between the parties 1s complete.
Plaintiffs deposition is set for August 24, 2023.

Briefly summarize all substantive rulings issued in the case. (For each ruling,
include the date and the docket number)

There have not been any substantive rulings made in this matter to date.

Briefly describe any anticipated motions, including whether any party
intends to move for summary judgment.

It is anticipated the Defendant will file a Motion for Summary Judgment.

Jury Trial
Both parties have requested a Trial by Jury.

What is the trial date (if any)? If there is no trial date, when will the parties
be ready for trial?

There is no trial date. It is anticipated the parties will be ready for trial on August
1, 2024

Have the parties filed a final pretrial order? Ifso, when? If not, when is the
deadline for the filing?

The parties have not received a deadline to file a final pretrial order but anticipate
one could be filed by July 1, 2024.

Estimate the number of days needed to try the case.

The parties anticipate that the trial may last seven days.

Settlement, Referrals, and Consent

A.

Have any settlement discussions taken place? If so, what is the status?

No.
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B. Has this case been referred to the Magistrate Judge for discovery supervision
and/or a settlement conference? If not, do the parties want such a referral?

No.

C. Have counsel informed their respective clients about the possibility of
proceeding before the assigned Magistrate Judge for all purposes, including
trial and entry of final judgment? Do all parties unanimously consent to that

procedure?

Yes, the respective clients have been advised. There is no unanimous consent to

proceed before a Magistrate.

Vv. Other

A. Each party may list any other issue(s) they wish to raise with the Court not
addressed elsewhere in this Initial Status Report.

Dated: August 15, 2023

/s/ James T. Farnan

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CERTIFICATE OF SERVICE

The undersigned attorney hereby certifies that a true and correct copy of the foregoing
instrument was properly forwarded to all counsel of record as listed below via:

United States Mail, postage prepaid and sealed:

United States Certified Mail, postage prepaid and return receipt requested;
Hand Delivery;

___-—sOUPS/Next Day Air;

Facsimile Transmission;

x Electronic Filing (Northern District of Illinois); and/or

Email (pdf)

on August 15, 2023.

/s/ James T. Farnan

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